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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



COMMITTEE ON WAYS AND MEANS, U.S.
HOUSE OF REPRESENTATIVES,                             MOTION TO WITHDRAW
                                                      APPEARANCE
                             Plaintiff,
                  v.

UNITED STATES DEPARTMENT OF THE                       No. 1:19-cv-1974 (McFadden, J.)
TREASURY ET AL.,

                   Defendants.



                       MOTION TO WITHDRAW APPEARANCE

       PLEASE TAKE NOTICE, that Joshua Matz hereby withdraws his appearance as counsel

for Amici Curiae, Constitutional Law Scholars. Laurence H. Tribe will remain counsel for amici.



Dated: October 15, 2019                            Respectfully submitted,

                                                   /s/ Joshua Matz
                                                   Joshua Matz
